Case 1:01-cv-12257-PBS Document 7223-2 Filed 08/11/10 Page 1 of 2

EXHIBIT B

NEWYORK 7751039 (2K)
Case 1:01-cv-12257-PBS Document 7223-2 Filed 08/11/10 Page 2 of 2

Appellate Disizion of the Supreme Court
of the State of Nef York
Hirst Judicial Department

JI, Bavid Spokony, Clerk of the Appellate Digision of the
Supreme Court of the State of Nem Work, Firat Judicial
Department, certify that

DANIELLE MARIE AUDETTE |
fas duly licensed and admitted to practice as an Attorney and
Gounsellor at Lato in all the courts of the State of Netr Work on
february 15, 2009, has duly taken and subscribed the oath of
office prescribed by late, has been enrolled tn the Roll of Attorneys
and Counsellors at Date on file in my office, has duly registered
with the xdministratige office of the courts, and according to the
records of this court is in good standing as an attorney and

counsellor at lato.

Ju Witness Wherenf, J hate herennto set my
handy andy affixed the. seal of this court on
| Asiguat 10, 2010

“ Glock at the Caurt
